                Case:
ILND 450 (Rev. 10/13)    1:23-cv-16294
                      Judgment in a Civil Action Document #: 59 Filed: 03/05/25 Page 1 of 1 PageID #:274


                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Dr. Bharat Parekh,

    Plaintiff(s),
                                                                  Case No. 1:23-cv-16294
    v.                                                            Judge April M. Perry

    DePaul University, et al,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                            which       includes        pre–judgment interest.
                                        does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other: Defendant's motion to dismiss for want of prosecution 56 is granted. Civil case
terminated..

This action was (check one):

         tried by a jury with Judge      presiding, and the jury has rendered a verdict.
         tried by Judge      without a jury and the above decision was reached.
         decided by Judge April M. Perry



Date: 3/5/2025                                             Thomas G. Bruton, Clerk of Court

                                                            J. Capparelli, Deputy Clerk
